                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

COLONIAL PIPELINE COMPANY,                       )
                                                 )
                 Plaintiff,                      )
                                                 )
         v.                                      )    Case No. 3:20-CV-00666
                                                 )
METROPOLITAN NASHVILLE                           )    Judge William L. Campbell, Jr.
AIRPORT AUTHORITY and AECOM                      )    Magistrate Judge Alistair E. Newbern
TECHNICAL SERVICES, INC.,                        )    JURY TRIAL DEMANDED
                                                 )
                 Defendants.

    REPLY IN FURTHER SUPPORT OF METROPOLITAN NASHVILLE AIRPORT
                AUTHORITY’S PARTIAL MOTION TO DISMISS

         Metropolitan Nashville Airport Authority (the “Airport”) respectfully submits this reply

memorandum in further support of its motion to dismiss Count I of Plaintiff’s Amended

Complaint (the breach of contract claim).

         I.      The Airport is Not in Breach of Any Express Contractual Duty.

         Plaintiff contends the Airport has “breached the Easement Agreement, including

impairing and injuring Colonial’s rights and reasonable expectations, by acting and failing to act

in a manner that caused Colonial’s pipeline to be punctured[.]” See ECF No. 45 at 4-5. But

neither the Amended Complaint nor Plaintiff’s opposition identifies any duty the Airport owed to

Plaintiff under the express terms of the Easement Agreement or otherwise, to prevent accidental

damage to Plaintiff’s pipeline by a third party. Because Plaintiff cannot allege the Airport has

deficiently performed any express provision of the agreement, its attempt to shoehorn in a breach

of contract claim by relying on an implied duty of good faith and fair dealing fails. Plaintiff

concedes this implied duty does not create new contractual rights or obligations or give rise to a

stand-alone claim for breach of contract under Tennessee law.



4846-5046-3956
                                      1
     Case 3:20-cv-00666 Document 47 Filed 12/14/20 Page 1 of 6 PageID #: 418
      II.    Plaintiff Fails to State a Claim for Breach of The Implied Duty of Good Faith
and Fair Dealing.

         Plaintiff purports to recite the applicable contract law on pages 2 and 3 of its opposition,

but it does not mention or dispute the important principle that: “[A] claim based on the implied

covenant of good faith and fair dealing is not a stand-alone claim; rather, it is part of an overall

breach of contract claim.” Cadence Bank, N.A. v. Alpha Trust, 473 S.W.3d 756, 773 (Tenn. Ct.

App. 2015). Because Plaintiff fails to state a deficiency in the Airport’s performance amounting

to a breach of an express term of the Easement Agreement, its attempt to state a breach of

contract claim in reliance on the implied duty of good faith and fair dealing in the performance

and enforcement of contracts is misplaced. See Hixson v. Am. Towers LLC, 593 S.W.3d 699,

714 (Tenn. Ct. App. 2019).

         Plaintiff also fails to mention and does not dispute that in order to state a claim for breach

of the implied duty of good faith and fair dealing, the complaint must include allegations that the

defendant’s conduct, in breach of an express provision of the contract, falls outside of the

boundaries of acceptable commercial practice or was motivated by a dishonest purpose,

fraudulent intent, or ill will. See, e.g., Dick Broad. Co. v. Oak Ridge FM, Inc., 395 S.W.3d 653,

676 (Koch, J., concurring) (Tenn. 2013). Plaintiff does not allege (nor could it) that the Airport’s

conduct fell outside the boundaries of acceptable commercial practice or that it was motivated by

a dishonest purpose, fraudulent intent, or rooted ill will. 1




1
 Although Plaintiff argues that, by the Airport’s logic, the Airport “could dig up and remove
Colonial’s pipeline and that cannot be a breach of the agreement,” (see ECF No. 45 at 9), this
goes too far. The purported breach of the implied duty of good faith and fair dealing in this case,
as is clear from a reading of Plaintiff’s Amended Complaint, was the product of an unfortunate
construction accident actually caused by a third party, not the result of any conduct that would
give rise to a breach of the covenant of good faith and fair dealing.

4846-5046-3956
                                      2
     Case 3:20-cv-00666 Document 47 Filed 12/14/20 Page 2 of 6 PageID #: 419
         Upon close inspection, the factual landscape and the holdings of the authorities cited by

Plaintiff actually support the Airport’s partial motion to dismiss.

         For example, in the Dick Broadcasting case cited above, defendant radio station

contractually agreed for plaintiff broadcasting company to have the right of first refusal to

purchase certain assets. The agreement expressly stated “[n]o party may assign its rights, interest

or obligations hereunder without the prior consent of the other party,” but was silent on the

standard of conduct for withholding consent. Id. at 657. The broadcasting company sued for

breach of contract, claiming the radio station’s unreasonable withholding of consent violated the

implied duty of good faith and fair dealing. The Court held for the broadcasting company,

because the implied covenant of good faith and fair dealing required the radio station to comply

with its express contractual obligation in good faith and in a commercially reasonable manner. In

a concurring opinion, Justice Koch made clear: “in order for a commercial actor’s conduct to

amount to [breach of the implied duty of good faith and fair dealing], there must be evidence that

it falls outside of the boundaries of acceptable commercial practice or it was motivated by a

dishonest purpose, fraudulent intent, or ill will.” Id. at 676 (Koch, J., concurring). 2

         The other cases upon which Plaintiff relies are similarly distinguishable.        Long v.

McAllister-Long, 221 S.W.3d 1 (Tenn. Ct. App. 2006) is a divorce case in which a wife sought to


2
  See also Beijing Fito Med. Co. v. Wright Med. Tech., Inc., 763 Fed. Appx. 388, 394-395 (6th
Cir. 2019) (“commercially reasonable, self-interested business tactics do not, by themselves,
breach the implied covenant of good faith and fair dealing. Tennessee courts readily
acknowledge that the duty of good faith and fair dealing is not specifically defined. And the
majority opinion in Dick Broadcasting does not address the scope of the implied covenant,
prompting Justice Koch's separate concurrence to address this important point. That concurrence
cautions against a broad definition of good faith that undermines parties’ freedom to contract and
instead suggests a narrower definition: the absence of bad faith. Bad faith is not simply bad
judgment or negligence. Rather, bad faith involves a dishonest purpose and may include fraud,
deceit, or the refusal to fulfill a contractual obligation.”) (internal citations and quotations
omitted).

4846-5046-3956
                                      3
     Case 3:20-cv-00666 Document 47 Filed 12/14/20 Page 3 of 6 PageID #: 420
hold her former husband in criminal contempt for willfully violating a court order, because he

intentionally failed to comply with a marital dissolution agreement. There, “[t]he parties’ marital

dissolution agreement drafted by Mr. Long plainly obligates him to be responsible for several

marital debts” which he deliberately failed to pay. Id. at 12. Here, by contrast, Plaintiff has

failed to identify any express duty owed under the agreement by the Airport which the Airport

has failed to perform. Further, the Airport’s purported breach was not a willful attempt to get

back at an ex-wife, but an accident actually caused by a third party (TDOT).

         Barnes & Robinson Co. v. Onesource Facility Servs., 195 S.W.3d 637 (Tenn. Ct. App.

2006) also does not support Plaintiff’s breach of contract claim. In that case, the court affirmed

dismissal of a breach of contract claim where the parties entered letters of intent to purchase

janitorial service business assets. Because the parties did not have an enforceable contract, the

duty of good faith and fair dealing did not apply.

         Count I of the Amended Complaint should be dismissed for failure to state a claim. The

implied duty of good faith and fair dealing, standing alone, does not save Plaintiff’s argument.

         III.    Plaintiff’s Claim for Interference with Easement Sounds in Tort

         Plaintiff’s claim could have been, but was not, asserted as a cause of action for

unreasonable interference with easement. The cases cited in support of the Airport’s motion, and

particularly the cases of Cox v. E. Tenn. Natural Gas Co., 136 S.W.3d 626 (Tenn. Ct. App. 2003)

and Ute Water Conservancy Dist. v. Fontanari, No. 15CV30590, 2016 Colo. Dist. LEXIS 8

(Colo. Dist. Feb. 23, 2016), are instructive.

         In Cox, a gas pipeline was installed pursuant to an express easement agreement which

granted a 50-foot easement for the purpose of “laying, constructing, maintaining, operating,

altering, replacing, inspecting, patrolling, servicing, and repairing and removing pipe lines[.]”



4846-5046-3956
                                      4
     Case 3:20-cv-00666 Document 47 Filed 12/14/20 Page 4 of 6 PageID #: 421
When landowner sought to fill 23 feet of dirt over the pipeline in order to better access a road

abutting his property, the gas company sued for declaratory judgment. The Tennessee Court of

Appeals found the landowner’s proposal would constitute an unreasonable interference with the

rights of the easement owner. The court did not address the declaratory judgment action through

the lens of contract law, and did not find such an action would be breach of contract.

         Likewise, in Ute, a water pipeline was installed pursuant to an express easement

agreement which required plaintiff, a local government district, to bury the pipeline below

ground. Defendants counterclaimed for declaratory judgment and trespass, alleging portions of

the pipeline were above the surface and that this was a breach of the easement agreement.

Plaintiff moved to dismiss the breach of contract claim. The Court granted dismissal because

although the counterclaim “appears on the surface to be rooted in contract, the substance of the

claim actually lies in tort.” Id. at *4-5.

         The same is true here. Plaintiff essentially concedes at page 8 of its opposition that its

purported breach of contract claim is an attempt to circumvent the Tennessee Governmental Tort

Liability Act (“GTLA”) and to create a “first material breach” defense to the Airport’s separately

filed pipeline relocation action. The gravamen of Plaintiff’s complaint lies in tort, not contract,

and Plaintiff should not be allowed by artful pleading to avoid protections and immunities under

the GTLA or its own contractual obligations to relocate its pipeline to accommodate the

Airport’s expansion.

                                         CONCLUSION

         For the foregoing reasons, the Court should grant the Airport’s partial motion to dismiss.




4846-5046-3956
                                      5
     Case 3:20-cv-00666 Document 47 Filed 12/14/20 Page 5 of 6 PageID #: 422
         Dated: December 14, 2020.

                                               /s/Paul S. Davidson
                                               Paul S. Davidson (Tenn. BPR No. 011789)
                                               Edward Callaway (Tenn. BPR No. 016016)
                                               Michael C. Brett (Tenn. BPR No. 037290)
                                               WALLER LANSDEN DORTCH & DAVIS LLP
                                               511 Union Street, Suite 2700
                                               Nashville, Tennessee 37219
                                               Telephone: (615) 850-8942
                                               Facsimile: (615) 244-6804
                                               paul.davidson@wallerlaw.com
                                               ed.callaway@wallerlaw.com
                                               mike.brett@wallerlaw.com

                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 14, 2020, a copy of the foregoing document was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. All other parties will be served by
regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.

L. Wearen Hughes
J. Andrew Goddard
Brian M. Dobbs
Bass, Berry & Sims PLC
150 3rd Ave. S., Suite 2800
Nashville, TN 37201
(615) 742-6200
whughes@bassberry.com
dgoddard@bassberry.com
bdobbs@bassberry.com

Attorneys for Plaintiff Colonial Pipeline Company

Gary C. Shockley
Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
211 Commerce St., Suite 800
Nashville, TN 37201
(615) 726-5600
gshockley@bakerdonelson.com

Attorneys for AECOM Technical Services, Inc.

                                                      /s /Paul S. Davidson



4846-5046-3956
                                      6
     Case 3:20-cv-00666 Document 47 Filed 12/14/20 Page 6 of 6 PageID #: 423
